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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )              Case No. 8:16CR204
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )                    ORDER
MARIA RIVAS,                                    )
                                                )
                     Defendant.                 )


       This case is before the court on the defendant Maria Rivas' Motion for Bond Review
(#33). The defendant moves the court for an order releasing her to reside with her brother
so that she may complete a chemical dependency evaluation leading to possible in-patient
treatment. The motion is denied without hearing.
       A review of the defendant's July 15, 2016, Amended Pretrial Services Report (#27)
reveals under the substance abuse section, that the defendant admitted to being a daily
user of methamphetamines, last using on March 29, 2016. Additionally, the defendant's
July 13, 2016, Detention Order (#24) recognizes that the defendant has a history related
to drug abuse.
       Given the defendant's significant ties to Mexico and her daily methamphetamine use
prior to her arrest, the court feels the risk of nonappearance is substantial. The court is not
willing, absent a chemical dependency evaluation, a specific treatment regimen, and a
specific location identified for the treatment, to grant release.
       IT IS ORDERED: Defendant's Motion for Bond Review (#33) is denied without
hearing.
       Dated this 4th day of August 2016.
                                             BY THE COURT:


                                             S/ F.A. Gossett, III
                                             United States Magistrate Judge
